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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES -- GENERAL

Case No.      CV 14-2910-MWF(MRWx)                                          Dated: May 1, 2017

Title:        In Re OSI Systems, Inc., Derivative Litigation

PRESENT: HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE

              Rita Sanchez                                 Lisa Gonzalez
              Courtroom Deputy                             Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                   ATTORNEYS PRESENT FOR DEFENDANTS:

              Albert Y. Chang                             James H. Moon


PROCEEDINGS:              MOTION FOR FINAL APPROVAL OF SETTLEMENT [94]

      The Courtroom Deputy Clerk distributes the Court's tentative ruling prior to the case
being called.

      Case called, and counsel make their appearance. The hearing is held. The Court hears
from counsel. An order will issue.

         IT IS SO ORDERED.




MINUTES FORM 90                                                             Initials of Deputy Clerk   rs
CIVIL - GEN                                   -1-                                          :02
